
USCA1 Opinion

	













                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

        No. 95-2109

                                    UNITED STATES,

                                      Appellee,

                                          v.

                               MELVIN B. LAGASSE, JR.,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                 Selya, Circuit Judge,
                                        _____________
                            Aldrich, Senior Circuit Judge,
                                     ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

            Walter F.  McKee with whom Lipman  &amp; Katz, P.A.  was on brief  for
            ________________           ____________________
        appellant.
            F.  Mark Terison, Assistant  United States Attorney, with whom Jay
            ________________                                               ___
        P.  McCloskey,  United  States   Attorney,  and  George  T.  Dilworth,
        _____________                                    ____________________
        Assistant United States Attorney, were on brief for appellee.


                                 ____________________

                                    June 25, 1996
                                 ____________________





















                      STAHL, Circuit Judge.  Defendant-appellant   Melvin
                      STAHL, Circuit Judge.
                             _____________

            B.  Lagasse,  Jr.,  pleaded  guilty  to  a  drug  trafficking

            conspiracy and  was sentenced to  264 months'  incarceration.

            Lagasse  now appeals  three aspects of  his sentence:  (1) an

            enhancement  for possession  of  a dangerous  weapon; (2)  an

            enhancement for obstruction of justice; and (3) the denial of

            an adjustment for acceptance of responsibility.  We affirm in

            part, vacate in part and remand.

                                          I.
                                          I.
                                          __

                       Factual Background and Prior Proceedings
                       Factual Background and Prior Proceedings
                       ________________________________________

                      We  accept  the  facts  found  in  the  uncontested

            portions of  the Presentence Investigation Report ("PSR") and

            the  sentencing hearing  transcript.   See  United States  v.
                                                   ___  _____________

            Lindia, 82 F.3d 1154, 1158 (1st Cir. 1996).  Additional facts
            ______

            pertinent to the issues in this appeal are discussed below.

            A.  Offense Conduct
            ___________________

                      In the  summer of 1994, the  Maine Drug Enforcement

            Agency ("MDEA")  began investigating a crack  cocaine ring in

            the Lewiston/Auburn  area.   The investigation revealed  that

            the drug  suppliers, Raul  Baez, Jesus Baez  and Angel  Baez,

            operated  out  of  Lawrence,  Massachusetts,  and  that  Jose

            Guzman,  Toni  Lemieux Naftali  ("Naftali")  and  Jose Mejia-

            Martinez   transported  the  drugs   to  Maine  for  ultimate

            distribution.    Appellant  Melvin Lagasse  ("Lagasse"),  his

            brother, Michael Lagasse, and three others, Marlane Driggers,



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            Lisa Booth and Thomas Booth, would also on occasion transport

            the  crack cocaine ("crack") to Maine and sell it in Lewiston

            and Auburn.

                      From  July  through early  September  1994, Lagasse

            purchased  about 100  bags  of crack  per  week from  various

            persons including  Naftali, Jesus Baez, Guzman,  Driggers and

            Mejia-Martinez.     Lagasse  procured   the  drug   both  for

            distribution and for personal  use.  He continued to  use and

            sell crack until December 7, 1994, when he was arrested while

            in possession of almost 100 grams of crack.

                      On  December 20,  1994,  a grand  jury returned  an

            indictment charging  in Count  I that Lagasse  conspired with

            the Baezes, Driggers, Michael  Lagasse, the Booths and others

            to distribute  and to  possess with  intent to  distribute in

            excess of fifty grams of cocaine base (i.e., crack).  Lagasse
                                                   ____

            pleaded  guilty to that count  in February 1995; other counts

            against him were dismissed.

            B.  Sentencing
            ______________

                      The  district court  held a  sentencing  hearing on

            September 14, 1995,  during which it took evidence  and heard

            the testimony of  nine witnesses, including Lagasse.   At the

            conclusion  of  the hearing,  the  court  made the  following

            findings and rulings which  are at issue in this  appeal: (1)

            that  an  upward adjustment  for  possession  of a  dangerous

            weapon  was  applicable because  Lagasse  was  involved in  a



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            knife-point  robbery  of drugs  and  money  from Naftali  and

            Guzman;  (2) that  an  upward adjustment  for obstruction  of

            justice was  appropriate because Lagasse  assaulted a witness

            in retaliation  for, and  to prevent his  further cooperation

            with  authorities; and  (3)  that a  downward adjustment  for

            acceptance of  responsibility was not warranted  both because

            Lagasse obstructed  justice and because he  attempted to have

            drugs  smuggled  to  him  in  prison  where he  was  awaiting

            sentencing.

                                         II.
                                         II.
                                         ___

                                      Discussion
                                      Discussion
                                      __________

            A.  Standard of Review
            ______________________

                      We    review    a   sentencing    court's   factual

            determinations, which must be found by a preponderance of the

            evidence, for  clear error.   United States  v. McCarthy,  77
                                          _____________     ________

            F.3d 522, 535 (1st Cir. 1995).   We review questions of  law,

            including  the applicability  of  a sentencing  guideline, de
                                                                       __

            novo.  Id.
            ____   ___

            B.  Enhancement for Possession of a Dangerous Weapon
            ____________________________________________________

                      Lagasse challenges the district court's application

            of  a dangerous  weapon  enhancement to  his  sentence.   The

            pertinent   sentencing  guideline,   U.S.S.G.    2D1.1(b)(1),

            provides for a  two-level increase in the  base offense level







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            "[i]f   a   dangerous  weapon   (including  a   firearm)  was

            possessed."1  Application note  3 to that guideline provides,

            in part:

                      The  enhancement  for  weapon  possession
                      reflects the increased danger of violence
                      when  drug  traffickers possess  weapons.
                      The adjustment should  be applied if  the
                      weapon was present,  unless it is clearly
                      improbable that the weapon  was connected
                      with the offense.

            U.S.S.G.   2D1.1, comment. (n.3).

                      At    the    sentencing    hearing,   Naftali,    a

            coconspirator,   testified  that,   throughout  the   day  of

            September  8, 1994 (a  point within the  indictment period of

            the  charged conspiracy),  Lagasse  repeatedly requested  and

            received crack from her.  Naftali stated that she  eventually

            rebuffed  his  requests  for  more of  the  drug  because  he

            continued to use  rather than sell  it.  Later, in  the early

            morning hours  of September 9, Lagasse  returned to Naftali's

            apartment and requested more crack from her and her roommate,

            Guzman.   Both refused,  and Lagasse  left.   Seconds  later,

            however, Lagasse  forcibly reentered  the apartment with  one

            Michael Weaver who walked into Guzman's room and held a knife

            to Guzman's  neck; Lagasse  stood close behind  Weaver during





                                
            ____________________

            1.  Unless otherwise  indicated, all guideline  citations are
            to the  November 1994 United  States Sentencing  Commission's
            Guidelines Manual.

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            this  encounter.   Lagasse and  Weaver then  took all  of the

            drugs and cash in the apartment and left.2

                      Based  on this  event, the  court found  the weapon

            enhancement appropriate, explaining:

                           I  observe  first  of  all  that the
                      circumstances here are  rather unique  in
                      the   application   of  this   adjustment
                      because here the possession of the weapon
                      was   not  in  furtherance  of  the  drug
                      conspiracy in the  sense that Weaver with
                      Lagasse's connivance was trying  to steal
                      from the conspiracy.
                           Nevertheless,  [Application note  3]
                      points  out  that  the  reason   for  the
                      adjustment  is  the  increased danger  of
                      violence  when  drug traffickers  possess
                      weapons.  I certainly  attribute Weaver's
                      possession   of   the   weapon  to   this
                      defendant   because   they   were   there
                      jointly.3  And I conclude although  it is
                      an  unusual  case that  the circumstances
                      here  fit  the definition  of Application
                      Note  3  and  call   for  the  two  level
                      increase.

                      We  begin our analysis  with a brief  review of the

            basic principles underlying the  application of the dangerous

            weapon enhancement.   For the enhancement to  be warranted, a

            certain  nexus between  the weapon  and the  offense must  be

            shown.  See  United States v. Pineda, 981 F.2d  569, 573 (1st
                    ___  _____________    ______

            Cir. 1992).   It need not be  shown, however, that the weapon

            was used, or  was intended to be used, to perpetrate the drug

                                
            ____________________

            2.  Later that  same day, police arrested  Naftali and Guzman
            after  discovering  large  quantities   of  crack  in   their
            automobile.

            3.  On  appeal,   Lagasse  does  not   contest  the   court's
            attribution of the knife possession to him.

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            offense.  United States v. Castillo, 979 F.2d 8, 10 (1st Cir.
                      _____________    ________

            1992); see also,  United States  v. Ruiz, 905  F.2d 499,  507
                   ___ ____   _____________     ____

            (1st  Cir.   1990).    Rather,   for  the  purposes   of  the

            enhancement, we have repeatedly recognized that

                      "when  the  weapon's  location  makes  it
                      readily available to  protect either  the
                      participants   themselves    during   the
                      commission of the illegal activity or the
                      drugs  and  cash  involved  in  the  drug
                      business,   there   will  be   sufficient
                      evidence  to connect  the weapons  to the
                      offense conduct."

            United States v.  Ovalle-Marquez, 36 F.3d 212,  224 (1st Cir.
            _____________     ______________

            1994) (quoting  United States  v. Corcimiglia, 967  F.2d 724,
                            _____________     ___________

            727  (1st Cir.  1992)), cert.  denied, 115  S. Ct.  947, 1322
                                    _____  ______

            (1995).  In other  words, the presence of a  dangerous weapon

            at some point during  the underlying drug crime may  indicate

            the probability of a "facilitative nexus between the [weapon]

            and the crime."   United States v. Gonzalez-Vazquez,  34 F.3d
                              _____________    ________________

            19, 25 (1st Cir. 1994).

                      Once the  presence of a weapon  is established, the

            defendant  may  avoid the  enhancement only  by demonstrating

            "special  circumstances"  rendering  it "clearly  improbable"

            that  the  weapon  was  connected  to  the  drug  trafficking

            offense.  Ovalle-Marques,  36 F.3d at 224.   An example  of a
                      ______________

            "special   circumstance"  is   provided   by  the   guideline

            commentary:  "the  enhancement would  not be  applied if  the

            defendant, arrested at his residence, had an unloaded hunting

            rifle in the closet."  U.S.S.G.   2D1.1, comment. (n.3). 


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                      Here,  the  district court's  factual  findings are
                                                    _______

            unassailable and  Lagasse does not challenge  them on appeal:

            during  the indictment  period, Lagasse  was involved  in the

            robbing  of a  coconspirator,4 at knife  point, of  drugs and

            money.  What the  parties do dispute is the  district court's

            application  of the guidelines to these facts.  While we give

            "due deference" to  the court's exercise  in this regard,  18

            U.S.C.   3742(e), if its application is contrary  to the law,

            we must correct the error.  See United States v. Grandmaison,
                                        ___ _____________    ___________

            77 F.3d 55, 560 (1st Cir. 1996).

                      The government concedes that  the knife was used to

            rob fellow  conspirators, but  contends that  the use  of the

            weapon was intended to "protect" Lagasse's access to the very

            drugs involved in the conspiracy  and to "enforce" his demand

            for  more crack  to  sell.   The  government emphasizes  that

            Lagasse  used the knife on  the very premises  from which the

            conspiracy was carried out and  "during the active course  of

            the conspiracy"  and concludes that thus, it was not "clearly

            improbable" that  the knife was connected  with that offense.

            Finally,  the  government  relies  on  the  expressed  policy

            concern behind  the weapon enhancement: the  increased danger




                                
            ____________________

            4.  Although  Guzman and Naftali  were not specifically named
            in the indictment as  coconspirators, they were so identified
            in  the prosecution's  version of  the events,  which Lagasse
            accepted when pleading guilty.

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            of violence when drug  traffickers possess weapons.  U.S.S.G.

              2D1.1, comment. (n.3).

                      Lagasse responds  that the armed  robbery of  drugs

            and money  from a coconspirator was clearly  unrelated to the

            charge to which he pleaded guilty: conspiracy to possess with

            intent to distribute crack.  He contends that the robbery was

            adverse  to the  conspiracy's interests,  and thus  the knife

            cannot  fairly be  "connected"  with the  offense within  the

            meaning of the guideline.  We agree.

                      The  government's  observation that  the  knife was

            "present" during  drug trafficking activity, on  the facts of

            this case,  misses  the  mark.   It  is  true  that  we  have

            recognized that the  "presence" of  a weapon at  the site  of

            drug  trafficking activity  supports  the  enhancement.   See
                                                                      ___

            United  States v. Almonte, 952  F.2d 20, 25  (1st Cir. 1991),
            ______________    _______

            cert. denied, 503 U.S. 1010 (1992).  In addition, however, we
            _____ ______

            have invariably  observed that the  weapon's presence implied

            its purpose to "protect" some aspect of the drug operation --

            e.g., the drugs  or the  participants -- even  if it was  not
            ____

            actually  used to perpetrate  the crime.   See, e.g., Ovalle-
                                                       ___  ____  _______

            Marquez, 36 F.3d at  224; Pineda, 981 F.2d at  574; Castillo,
            _______                   ______                    ________

            979 F.2d at 11; United States v. Preakos, 907 F.2d  7, 9 (1st
                            _____________    _______

            Cir.  1990);  Ruiz,  905 F.2d  at  508.    Thus, our  caselaw
                          ____

            establishes only that a weapon's presence during the criminal

            activity  will trigger the enhancement when the circumstances



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            permit  an  inference that  the weapon  served to  protect or

            otherwise facilitate the offense conduct.

                      Here, in  contrast, the  weapon played a  role that

            was  entirely  adverse  to  the  "interests"  of  the  crime.

            Lagasse's  offense, to  which the  enhancement  attached, was

            criminal conspiracy -- an agreement with others to  engage in

            unlawful  conduct.    As  the district  court  observed,  the

            robbery was "not in furtherance of the  drug conspiracy" but,

            in   effect,  a   theft  from   the  conspiracy  --   an  act

            quintessentially  antithetical to  the  offense.5   The facts

            found by the district court indisputably negate the inference

            that normally  arises from  the presence  of a  weapon during

            drug trafficking  activity.  Had Lagasse been  convicted of a

            drug  possession or  distribution crime  with respect  to the

            drugs stolen from Guzman, the case might have been different;

            but that is not what happened here.6

                      Thus,  we hold that the  facts of this  case do not

            come  within  the  seemingly  broad  purview  of  the  weapon


                                
            ____________________

            5.  There  is no evidence in the record that Lagasse sold any
            of   the  drugs  taken  from  Guzman  (although  there  is  a
            suggestion  that he  shared some  of them  with  his brother,
            Michael Lagasse).

            6.  The government incorrectly  cites, as applicable  here, a
            previous version of   2D1.1(b), which contained the following
            underscored language:   "If  a dangerous weapon  (including a
            firearm) was  possessed  during commission  of  the  offense,
                                     ______ __________  __  ___  _______
            increase by 2 levels."   See Amendment 394, U.S.S.G.  App. C.
                                     ___
            The Sentencing Commission deleted that language by amendment,
            effective November 1, 1991.  Id.
                                         ___

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            enhancement.     See   U.S.S.G.     2D1.1,   comment.   (n.3)
                             ___

            (indicating that  the enhancement  applies if the  weapon was

            somehow  "connected" with  the  offense).   Moreover, we  are

            unpersuaded by the  government's reliance on  the guideline's

            underlying  concern about  the increased  danger  of violence

            when drug traffickers possess weapons.  The guideline  is not

            intended  to cover every instance  in which a drug trafficker

            possesses a weapon.  Rather, the enhancement applies when the

            weapon  possession has  the requisite  nexus to  the relevant

            offense.  Because the  court erred in its  interpretation and
            _______

            application of the weapon enhancement, that part of Lagasse's

            sentence must be vacated.

            C.  Enhancement for Obstruction of Justice
            __________________________________________

                      Lagasse also claims that the court erred in finding

            that  he obstructed  justice  and in  adjusting his  sentence

            accordingly.  Sentencing Guideline   3C1.1 provides:  "If the

            defendant willfully  obstructed or impeded,  or attempted  to

            obstruct or impede, the  administration of justice during the

            investigation,  prosecution, or  sentencing  of  the  instant

            offense, increase the offense level by 2 levels."

                      At the sentencing hearing, an agent with the United

            States Immigration and Naturalization Service testified that,

            on December  22, 1994,  he heard  a general  discussion among

            Lagasse and his codefendants (who, at the time, were awaiting

            arraignment in a  lockup area) relating their belief that two



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            individuals named Scott and  Patty Poulin were "the  rats" in

            the operation and that their cooperation with authorities was

            the  cause  of the  arrests.   A  corrections officer  at the

            Kennebec County jail  testified that, on  the morning of  May

            22, 1995 -- a time after which Lagasse had pleaded guilty but

            before his  sentencing -- Lagasse approached  Scott Poulin in

            the jail  recreation  yard  and punched  him.    The  officer

            further testified  that Poulin  was groggy and  bleeding from

            the mouth and nose, and was sent to the prison infirmary.  An

            agent  with the MDEA testified  that, in July  1995, he asked

            Poulin  about the assault,  and Poulin told  him that Lagasse

            "sucker punched" him and  stated, "I know you're a  rat, this

            is for being a rat.  You better . . . stop talking."7

                      From this  evidence, the district court  found that

            Lagasse struck  Poulin because of Poulin's  cooperation "at a

            time when  these matters  were still  pending" and thus,  the

            obstruction of justice enhancement was warranted.  On appeal,

            Lagasse  contends   that  the  obstruction   enhancement  was

            improper  because,  while  he   may  have  struck  Poulin  in

            retaliation for being a  "rat," there could not have  been an

            obstruction of justice because he had already pleaded guilty.

            To this end, he asserts that Poulin had nothing to contribute

                                
            ____________________

            7.  In contrast, Lagasse testified  that he never hit Poulin.
            He  further stated  that  he did  not  know that  Poulin  was
            cooperating  with the  authorities, and  pointed out  that he
            (Lagasse) was the  one who testified against Poulin  before a
            grand jury.  Lagasse does not press this position on appeal.

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            to the sentencing determination  and, in fact, was in  no way

            involved with  that disposition.   Lagasse is  wrong for  two

            reasons.

                      First,  the district  court supportably  found that

            Lagasse  knew of  Poulin's cooperation  and assaulted  him to

            prevent  further  similar  conduct.    Although  Lagasse  had

            already pleaded guilty to the offense, he struck Poulin after

            the  preparation of his PSR but before his sentencing.  While

            Poulin was not specifically mentioned in the PSR, he had been

            separately  indicted as  a  coconspirator of  Raul and  Jesus

            Baez,   two  of  Lagasse's  codefendants.    Because  Lagasse

            believed  that  Poulin was  the  "rat"  in the  operation,  a

            reasonable  inference  from  the  evidence  is  that  Lagasse

            thought that  Poulin could provide information,  such as drug

            quantity, that would affect  his sentence.  In light  of this

            evidence, especially Lagasse's warning to "stop  talking," we

            cannot say  that  the court  clearly  erred in  finding  that

            Lagasse's  assault  on Poulin  was  intended  to prevent  any

            further cooperation in the  proceedings against Lagasse.  The

            fact that Poulin did not, or even could not have, contributed

            anything to the sentencing  process is irrelevant because the

            enhancement applies to attempted,  as well as actual, witness

            intimidation.   See U.S.S.G.    3C1.1, comment. (n.3(a)); see
                            ___                                       ___

            United  States v.  Cotts, 14  F.3d 300,  307 (7th  Cir. 1994)
            ______________     _____





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            (finding enhancement proper  where the  defendant plotted  to

            kill a fictional informant).

                      Second,  even  if  the  evidence  only  supported a

            finding that  the assault was intended to  retaliate for past

            cooperation (and not to prevent future acts), the obstruction

            of  justice enhancement  would be  appropriate.   Application

            note  3(i)  to  the  obstruction guideline  states  that  the

            enhancement  applies  for "conduct  prohibited  by  18 U.S.C.

               1501-1516."   U.S.S.G.    3C1.1, comment.  (n.3(i)).    In

            turn, 18 U.S.C.   1513(b)  prohibits the infliction of bodily

            injury  with the  intent to  retaliate  for the  providing of

            information relating to  a federal offense.   Here, there was

            ample evidence that Lagasse injured Poulin in retaliation for

            his past cooperation.  This conduct falls squarely within the

            obstruction  of justice guideline.  See Cotts, 14 F.3d at 308
                                                ___ _____

            (holding that  the guideline's reference to    1513 allows an

            obstruction  enhancement even  where the  motive was  only to

            "punish a snitch").

                      We  find no  error  in the  court's enhancement  of

            Lagasse's sentence for obstruction of justice.

            D.   Denial  of Adjustment  for Acceptance  of Responsibility
            _____________________________________________________________

                      Lagasse contends that he was entitled to a downward

            adjustment  for  acceptance  of  responsibility   because  he

            pleaded  guilty  within months  of  his  arrest and  appeared

            before a grand jury on the government's behalf.  Although the



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            court refused to grant the adjustment,  it did expressly take

            into  account Lagasse's guilty plea when fixing a sentence in

            the  middle of  the applicable  guideline range,  despite the

            government's  recommendation  for  the  maximum  imprisonment

            term.

                      A  two-level  reduction  in the  offense  level  is

            warranted "[i]f the defendant clearly demonstrates acceptance

            of  responsibility  for  his  offense."    U.S.S.G.    3E1.1.

            However,  "[a] defendant  who  enters a  guilty  plea is  not

            entitled to an adjustment [for acceptance of  responsibility]

            as a matter  of right."  Id. comment. (n.3);  see also United
                                     ___                  ___ ____ ______

            States  v.  Royer,  895  F.2d   28,  29-30  (1st  Cir.  1990)
            ______      _____

            (explaining  that "a  downward adjustment  for acceptance  of

            responsibility  is not  automatically  to  be conferred  upon

            every  accused who  pleads guilty").   While  pleading guilty

            before trial  and  truthfully admitting  the offense  conduct

            will  constitute  "significant  evidence"  of  acceptance  of

            responsibility, "this evidence  may be outweighed  by conduct

            of the defendant  that is inconsistent."   U.S.S.G.    3E1.1,

            comment. (n.3).

                      Only in  "extraordinary cases" will  the adjustment

            be appropriate where, as here, the defendant has received  an

            obstruction of justice enhancement  pursuant to   3E1.1.  Id.
                                                                      ___

            comment. (n.4).  Other than referring to his challenge to the

            obstruction of justice enhancement, Lagasse does not indicate



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                                          15















            how his case  might be  "extraordinary" enough  to allow  the

            acceptance  of responsibility adjustment.   Because Lagasse's

            case is "ordinary" in that the obstructive conduct "indicates

            that the  defendant has  not accepted responsibility  for his

            criminal  conduct," id.,  the  denial of  the adjustment  was
                                ___

            proper.   See United States v. Wheelwright, 918 F.2d 226, 229
                      ___ _____________    ___________

            (1st Cir. 1990).

                      The district court alternatively found that Lagasse

            did  not deserve the  acceptance of responsibility adjustment

            because he was involved  in an attempt to smuggle  drugs into

            prison.  At  the sentencing hearing, an MDEA  agent testified

            that on March  25, 1995,  he went to  the Maine  Correctional

            Center  to  investigate  an   anonymous  tip  that  Lagasse's

            girlfriend, Grace  Sheloske, would  attempt to  smuggle drugs

            into  the  prison that  day.   When  Sheloske arrived  at the

            prison,  she told  the  agent that  she  was there  to  visit

            Lagasse  and eventually  admitted that  she was  concealing a

            small  amount of crack.  Sheloske refused to identify to whom

            she intended to give the drugs, stating that she did not want

            to  "get him  in trouble."   A  deputy United  States Marshal

            testified  that,  just  before  the  sentencing  hearing,  he

            interviewed Jeffrey Rumore  -- an inmate  who worked for  the

            prison laundry -- who  told him that Lagasse had  confided to

            Rumore that Sheloske planned to smuggle crack into the prison

            and pass it during contact visits in the visiting room.



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                      Based on  this testimony,  the court found  that it

            was  Rumore who tipped  off the authorities  of the smuggling

            plan,  that Lagasse must have told Rumore about the plan, and

            thus Lagasse knew in advance that Sheloske was carrying drugs

            for  him  and indeed,  that she  did so  at  his behest.   On

            appeal, Lagasse argues that the court should not hold against

            him "the one  single occasion where  an admitted drug  addict

            tried to feed his habit,"  combined with the Poulin  assault,

            to  deny him any credit for acceptance of responsibility.  We

            must disagree.

                      "[I]t  is primarily  up  to the  district court  to

            decide whether or not  the appellant accepted  responsibility

            for  his  conduct  `with   candor  and  authentic  remorse.'"

            Wheelwright, 918 F.2d at 229 (quoting Royer, 895 F.2d at 30).
            ___________                           _____

            We have held that, while a court may not require  a defendant

            to accept  responsibility for  conduct beyond the  offense of

            conviction,  it  may  consider  a   defendant's  post-offense

            conduct --  including illegal drug activity -- as evidence of

            the  sincerity  of  his  claimed remorse  for  the  convicted

            offense.  United States v. O'Neil, 936 F.2d 599, 599-601 (1st
                      _____________    ______

            Cir.  1991) (upholding  sentencing  court's consideration  of

            post-offense use of marijuana in determining applicability of

            adjustment for  mail theft offense); accord  United States v.
                                                 ______  _____________

            Byrd, 76  F.3d 194, 196-97  (8th Cir. 1996)  (listing cases).
            ____

            While such conduct does  not compel the denial of  credit for



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            acceptance of  responsibility, O'Neil,  936 F.2d at  600, the
                                           ______

            court  could   reasonably   conclude  here   that   Lagasse's

            involvement  in the  attempted  smuggling of  drugs into  the

            prison  was  inconsistent  with  his  claimed  remorse,  thus

            negating  the applicability  of the  adjustment.   See United
                                                               ___ ______

            States v.  Olvera, 954 F.2d  788, 793  (2d Cir.)  (sentencing
            ______     ______

            court permissibly found that  the smuggling of marijuana into

            prison "was inconsistent with acceptance of responsibility"),

            cert. denied, 505 U.S. 1211 (1992).8
            _____ ______

                      In  sum, we find no error in the court's refusal to

            grant  Lagasse the benefit of an adjustment for acceptance of

            responsibility.



















                                
            ____________________

            8.  We note that the guideline commentary lists the following
            considerations in favor  of the acceptance of  responsibility
            adjustment  that,  here,  weigh  against  Lagasse:  voluntary
            termination   or  withdrawal   from   criminal   conduct   or
            associations,   and   post-offense   rehabilitative   efforts
            including drug treatment.  U.S.S.G.   3E1.1, comment. (n.1(b)
            &amp; (g)).

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                                         III.
                                         III.
                                         ____

                                      Conclusion
                                      Conclusion
                                      __________

                      We affirm the district court's sentence enhancement
                         ______

            for  obstruction  of justice  and  its denial  of  credit for

            acceptance of responsibility.  Because  of the legal error in

            the  application of  the  weapon enhancement,  we vacate  the
                                                              ______

            sentence  and remand  for resentencing  consistent with  this
                          ______

            opinion.





































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